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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA — WESTERN DIVISION

AMERICAN GUARANTEE AND | Case No.: 2:20-cv-11051-RGK-AFM
LIABILITY CO., et al.

a fPROPOSPBKORDER OF
Plaintiffs, ISIMSSAL [39]

V. Judge: Hon. R. Gary Klausner
Pretrial Conference: December 13, 2021
NIBCO INC., et al., Trial: January 11, 2022
Defendants. Removed: December 4, 2020

FAC Filed: November 3, 2020

 

 

The stipulation is approved. The entire action, including all claims stated herein

against all parties, is hereby dismissed with prejudice.

DATED: 11/8/2021

 

By: d ~ KRacranaad
Hon. R&%Sary Klausner
United States District Judge

 

 

XPRPOR EY ORDER OF DISIMSSAL
Case No.: 2:20-cv-11051-RGK-AFM

 

 
